                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ALEX CICCOTELLI,                                  )
                                                   )
        Plaintiff,                                 )
                                                   )   Case No. 2:21-cv-05611-WB
        v.                                         )
                                                   )
 NEOPHOTONICS CORPORATION,                         )
 TIMOTHY S. JENKS, CHARLES J. ABBE,                )
 BANDEL CARANO, KIMBERLY Y.                        )
 CHAINEY, YANBING LI, RAJIV                        )
 RAMASWAMI, SHERI L. SAVAGE,                       )
 MICHAEL J. SOPHIE, and IHAB TARAZI,               )
                                                   )
        Defendants.                                )

                     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), plaintiff hereby voluntarily dismisses this action (“Action”). Defendants have filed

neither an answer nor a motion for summary judgment in the Action.

 Dated: January 27, 2022                           GRABAR LAW OFFICE

                                             By:
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